                                                    Certificate Number: 01401-MIE-CC-001270759




                        CERTIFICATE OF COUNSELING

                  January 8, 2007
I CERTIFY that on _______________________,    8:15
                                           at _____________ o’clock ______________,
                                                                    PM EST

______________________________________________
Arnold C Heath Jr                              received from

_____________________________________________________________________________,
GreenPath Debt Solutions

an agency approved pursuant to 11 U.S.C. § 111 to provide credit counseling in the

Eastern District of Michigan
_______________________________________, an individual [or group] briefing that complied

with the provisions of 11 U.S.C. §§ 109(h) and 111.

                      was not prepared
A debt repayment plan _________________. If a debt repayment plan was prepared, a copy of

the debt repayment plan is attached to this certificate.

                                      by telephone
This counseling session was conducted _____________________________.



      January 8, 2007
Date: _______________________                  By        /s/Holli Bratt for Serafin Vega
                                                         ___________________________________

                                               Name ___________________________________
                                                    Serafin Vega

                                               Title     ___________________________________
                                                         Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).




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